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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA,                                      CASE NO. 19-CR-20141-JLK-2

               Plaintiff,

 vs.

 VICTOR ROJAS,

             Defendant,
 ______________________________/

     DEFENDANT VICTOR ROJAS’ AND THE UNITED STATES OF AMERICA’S
    JOINT MOTION TO INCLUDE A PROVISION IN THE JUDGMENT THAT THE
  TERM OF INCARCERATION IMPOSED SHALL RUN CONCURRENTLY WITH THE
        SENTENCE TO BE IMPOSED IN SDNY CASE NO. 1:19-00091-Cr-DLC

        COMES NOW the Defendant, VICTOR ROJAS, and the UNITED STATES OF

 AMERICA, by and through their respective counsel, and present herewith, their Joint Motion to

 Include a Provision in the Judgment that the Term of Incarceration Imposed Shall Run

 Concurrently with the Sentence to be Imposed in Southern District of New York Case No. 1:19-

 00091-Cr-DLC, and states as follows:

        1.     On Monday, August 17, 2020 at 10:00 a.m., the sentencing hearing was held in this

 cause via “Zoom.”

        2.     At that time, the parties inadvertently failed to remind this Honorable Court that

 paragraph 15 of the Plea Agreement in this cause provides as follows:

               15. The U.S. Attorney's Office for the Southern District of Florida does
               not object to the sentence pronounced for this offense being run
               concurrent to any sentence pronounced in the offense charged in the
               Indictment captioned United States v. Victor Rojas-Bascope, S7 19 Cr
               91 in the United States District Court for the Southern District of New
               York which was returned by a grand jury there in February, 2019.
               [D.E. 62]
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          3.    Additionally, the Presentence Investigation Report at paragraph 9 makes reference

 to that provision in the Plea Agreement as well. [D.E. 69]

          4.    Both the Defendant, VICTOR ROJAS, and the UNITED STATES OF

 AMERICA, agree that the intent of the parties was that the sentence pronounced in this case would

 run concurrently with any sentence pronounced in the proceeding pending in the Southern District

 of New York.

          5.    The parties apologize if this joint motion has caused any inconvenience for this

 Honorable Court.

          6.    The within joint motion is filed in the utmost of good faith and in the interest of

 fulfilling the intention of the parties at the time the Defendant entered his plea of guilty in this

 cause.

          WHEREFORE, Defendant, VICTOR ROJAS, and the UNITED STATES OF

 AMERICA, respectfully pray that this Honorable Court enter its order granting the within Joint

 Motion, and thereby include a provision in the Judgment that the term of incarceration imposed

 shall run concurrently with the sentence to be imposed in Southern District of New York Case No.

 1:19-00091-Cr-DLC.

                                                      Respectfully submitted,

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                                                      (Counsel for Defendant, Victor Rojas.)

                                                      /s/ Ana M. Davide_____
                                                      Ana M. Davide, Esq.

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                                                       Respectfully submitted,

                                                       ARIANA FAJARDO ORSHAN
                                                       UNITED STATES ATTORNEY

                                                       By: s/Timothy J. Abraham
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                                                       Email: Timothy.Abraham2@usdoj.gov


                                  CERTIFICATE OF SERVICE

        WE HEREBY CERTIFY that on this 19th day of August, 2020, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the

 attached service List in the manner specified, either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.

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                                                       /s/ Ana M. Davide_____
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